Case 19-10138 Doc            7 Filed 04/29/19
                             8       04/25/19 Entered                       04/29/19 10:28:01
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                                                                                                   On Docket
                                                                                                 April 29, 2019



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    April 29, 2019                                                         Colleen A. Brown
    Burlington, Vermont                                                    United States Bankruptcy Judge


                                                                 United States Bankruptcy Judge

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   * The Movant filed the Motion for Relief from Stay on April 25, 2019 (doc. # 7). The Debtors and the chapter 7
   case trustee filed electronic consent the same day.
